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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

DANIEL SWEAR                       :     CASE NUMBER: 2:15-cv-06591
                                   :
                                   :     SECTION “G”
VERSUS                             :     HON. JUDGE BROWN
                                   :
                                   :    MAGISTRATE
LAWSON, et al.                     :    HON. JUDGE van MEERVELD


                 PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                    MOTION FOR SUMMARY JUDGMENT




                              EXHIBIT 2


            DECLARATION OF PAUL PICHOFF
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

DANIEL SWEAR                                    :       CASE NUMBER: 2:15-cv-06591
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                                                :       SECTION “G”
VERSUS                                          :       HON. JUDGE BROWN
                                                :
                                                :       MAGISTRATE
LAWSON, et al.                                  :       HON. JUDGE van MEERVELD


                             NOTICE OF MANUAL ATTACHMENT


          Exhibit 1 of the Declaration of Declaration of Paul Pichoff of is an audio recording of Paul

Pichoff, Philip Saladino and J.R. Rogers which is filed as a manual attachment with the Clerk’s

Office.
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                     UNITED STATES DISTRICT COURT
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DANIEL SWEAR                       :     CASE NUMBER: 2:15-cv-06591
                                   :
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                     DECLARATION OF PAUL PICHOFF




                              EXHIBIT 2


          TRANSCRIPT OF AUDIO RECORDING

                                 1/7/14
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